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UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,              )   CR. NO. 17-00101 LEK
                                       )
          Plaintiff,                   )   GOVERNMENT’S RESPONSE TO THE
                                       )   DEFENDANT’S REQUEST FOR
    vs.                                )   JUDICIAL NOTICE; CERTIFICATE OF
                                       )   SERVICE
ANTHONY T. WILLIAMS (1),               )
                                       )
          Defendant.                   )
                                       )
                                       )

                   GOVERNMENT’S RESPONSE TO THE
               DEFENDANT’S REQUEST FOR JUDICIAL NOTICE

      The government respectfully submits this brief in response to Defendant

Anthony T. Williams’s requests for judicial notice. “Private Attorney General

Anthony Williams Mandatory Judicial Notice,” Exh. A, ECF No. 813-2 (JN
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Requests). 1 The defendant’s requests for judicial notice should be denied in its

entirety. The defendant seeks judicial notice of 51 discrete matters that fall into

three (3) categories. Many of the defendant’s proposed matters for judicial notice

are not adjudicative facts that are appropriate for judicial notice. The remainder

may not be noticed because the defendant has not supplied the Court with the

information necessary to determine whether judicial notice is appropriate, or

because they cannot be accurately and readily determined from sources whose

accuracy cannot be reasonably questioned.

                             ARGUMENT

I.    Legal Standard

      Federal Rule of Evidence Rule 201(b) provides:

             The court may judicially notice a fact that is not subject
             to reasonable dispute because it:
             (1) is generally known within the trial court’s
                    territorial jurisdiction; or
             (2) can be accurately and readily determined from
                    sources whose accuracy cannot be reasonably
                    questioned.

Rule 201 governs judicial notice of adjudicative facts only. Rule 201(a).

Adjudicative facts are the facts relevant to the particular case. Adv. Cmte Notes,

Note to Subdivision (a), 1972 Proposed Rules.



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  The matters about which the defendant seeks the Court to take judicial notice
shall also be referenced in this brief as “JN Requests.”
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       The Advisory Committee has explained that “[t]he key to a fair trial is

opportunity to use the appropriate weapons (rebuttal evidence, cross examination,

and argument) to meet adverse materials that come to the tribunal’s attention.”

Adv. Cmte. Notes, Note to Subsection (b), 1972 Proposed Rules, quoting “A

System of Judicial Notice Based on Fairness and Convenience,” Perspectives of

Law, 69, 93 (1964). The Advisory Committee noted that judicial notice

“dispens[es] with traditional methods of proof,” and therefore, should be applicable

“only in clear cases,” i.e., where the facts are not in dispute. Thus, courts may not

take judicial notice of matters that are subject to dispute and which are not self-

evident. Hardy v. Johns-Manville Sales Corp., 681 F.2d 334, 347 (5th Cir. 1982).

       Moreover, Rule 201(c)(2) directs that courts must take notice if “a party

requests it, provided that “the court is supplied with the necessary information.”

However, that language is subject to the limitation set forth in Rule 201(b), which

requires that fact to be noticed not be subject to reasonable dispute. Gulf Ins. Co. v.

Glasbrenner, 343 B.R. 47, 63 (S.D.N.Y. 2006), aff’d 273 Fed. Appx 90 (2d Cir.

2008).

 II.   The Defendant’s Propositions Are Not Appropriate For Judicial Notice

       The defendant seeks judicial notice for 51 matters that fall into three (3)

categories. Generally, the defendant requests that the Court take notice of:

(1) reference materials and legal authorities [JN Requests 1, 2, 18-21, 45, 46(a)-


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46(i), 47, 49 and 50]; (2) filings with various government agencies or courts [JN

Requests 3-17]; and (3) factual claims that the defendant has not been charged for

other acts in other jurisdictions [JN Requests 22-44, 48, and 51]. None of the

requested matters are appropriate for judicial notice.

      A. Reference Materials and Legal Authorities

      JN Requests 1, 2, 18-21, 45, 46(a)-46(i), 47, 49 and 50 seek judicial notice

of legal references and authorities. JN Requests 1 and 2 ask the Court to take

judicial notice of Black’s Law Dictionary and Corpus Juris Secundum, Volume 7.

JN Requests 18-21, 45, 46(a)-46(i), 47, 49, and 50 seek notice of a U.S. statute, a

Federal Rule of Civil Procedure, and numerous court decisions.

      The defendant’s request for judicial notice for references and legal

authorities should be denied because Rule 201 applies to judicial notice of

“adjudicative fact[s] only.” Rule 201(a). Legal authorities are not matters for

judicial notice. Should the defendant seek a legal instruction, he must propose an

appropriate jury instruction to the Court.

      B. Filings With Government and Courts

      JN Requests 3-17 seek judicial notice of documents filed with various

government entities and courts. JN Requests 3-17 should be denied because they

do not request judicial notice of any fact relevant to this prosecution.




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      As a general rule, the fact that a document has been filed in a court or office

may be an appropriate subject for judicial notice, with the appropriate foundation,

if the fact that the document had been filed is not being challenged. See, e.g.,

United States v. Wilson, 631 F.2d 118, 119 (9th Cir. 1980) (judicial notice of a

court’s own records); Valdivia v. Schwarzenegger, 599 F.3d 984, 994 (9th Cir.

2010) (authentication of court transcripts by judicial notice appropriate where state

did not challenge authenticity). However, judicial notice is not appropriate to

admit any statement contained within the filed document, or the effect of the filed

document. See, e.g., Madeja v. Olympic Packers, 310 F.3d 628, 639 (9th Cir.

2002) (no abuse of discretion to deny judicial notice of filed documents that were

not authenticated); M/V American Queen v. San Diego Marine Constr., 708 F.2d

1483, 1491 (9th Cir. 1983) (no judicial notice of otherwise inadmissible statements

merely because they are part of a court record or file).

      JN Requests 3-17 are not proper matters for judicial notice because the

defendant has not “supplied the necessary information” to the Court to establish

that each referenced document has in fact been filed at the agency or court, as the

defendant purports in his JN Requests. Rule 201(c)(2). Because the Court does

not have sufficient foundation with respect to JN Requests 3-17, they should be

denied. Additionally, the fact that the documents referenced in JN Requests 3-17

have been filed with some government agency or court is not relevant to a charge


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or defense at issue in this matter, and the defendant has not argued otherwise.

Thus, it appears that the defendant’s purpose in seeking judicial notice of these

documents is to reference a statement or argument contained within the document,

or the effect of the document. As noted, these are not appropriate matters for

judicial notice. M/V American Queen, 708 F.2d at 1491. Should the defendant

seek to introduce these filings into evidence, he must authenticate them and

introduce them through a proper witness.2 JN Requests 3-17 should be denied.

      C. Factual Issues Subject to Dispute

      JN Requests 22-44, 48, and 51 ask this Court to judicially notice factual

propositions that are subject to dispute and that are inappropriate for judicial

notice. Broadly speaking, these propositions seek to establish the defendant’s

innocence by judicial notice of the fact that no criminal charges were filed against

him in a number of states, for a variety of acts.

        None of these matters is appropriate for judicial notice. First, none of these

propositions is relevant to this prosecution. Evidence of the absence of prior or

other charges is not relevant to whether the defendant committed the charges in the




2
  In any event, it appears that many of the referenced documents in Requests 3-17
were written and filed by the defendant himself, and would therefore be
inadmissible hearsay if offered by him.

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Superseding Indictment, and the risk of confusion would render that evidence

inadmissible in any respect, and therefore inappropriate for judicial notice.

      Moreover, the defendant has not established that any of the JN Requests is

appropriate for judicial notice. Verification of each of the propositions contained

within the JN Requests requires reference to external sources. The defendant has

failed to supply these sources to the Court, as required by Fed. R. Evid. 201(c)(2).

Finally, the facts underlying JN Requests are all subject to dispute. In light of the

foregoing, JN Requests 22-44, 48, and 51 should be denied.

                                   CONCLUSION

      In light of the foregoing, the government respectfully requests that the Court

deny the defendant’s Request for Judicial Notice.

                    DATED: February 2, 2020, at Honolulu, Hawaii.


                                                KENJI M. PRICE
                                                United States Attorney
                                                District of Hawaii


                                                By /s/ Gregg Paris Yates
                                                  KENNETH M. SORENSON
                                                  GREGG PARIS YATES
                                                  Assistant U.S. Attorney




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                          CERTIFICATE OF SERVICE

             I hereby certify that, on the dates and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following by the

method indicated on the date of filing:

Served Electronically through CM/ECF:

      Lars Isaacson, Esq.
      hawaii.defender@earthlink.net

      Attorney for Defendant
      ANTHONY T. WILLIAMS

Defendant to be served by First Class Mail on or before February 3, 2020:

      Anthony T. Williams
      Register No. 05963-122
      Inmate Mail
      FDC Honolulu
      PO Box 30080
      Honolulu, HI 96820

             DATED: February 2, 2020, at Honolulu, Hawaii.


                                             /s/ Gregg Paris Yates
                                             U.S. Attorney’s Office
                                             District of Hawaii
